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              EXHIBIT 2
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Harrison, Lindsay C.

From:               David E. Ross <DRoss@kasowitz.com>
Sent:               Thursday, February 6, 2025 8:27 PM
To:                 Harrison, Lindsay C.
Cc:                 David J. Mark; Andrew W. Breland; Paul J Kiernan; James H. Hulme; Amber R. Will; Patricia McHugh
                    Lambert; David E. Ross
Subject:            Re: Amtrak - US
Attachments:        Exhibit 1 - Consent Order.pdf



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        Dear Lindsay:



        In each motion, please advise the Court as follows as regards USSM’s position:



        “USSM has not been provided with the motions nor an opportunity to review them, or the
        relief sought. Accordingly, USSM opposes the the motions and the relief sought, and
        requests the opportunity to brief its opposition to same in accordance with the usual
        schedule for same. USSM reserves the right to seek additional relief once it has the
        opportunity to review and consider the motions.”



        Regards,
        David




        On Feb 6, 2025, at 7:21 PM, Harrison, Lindsay C. <LHarrison@jenner.com> wrote:


        Thanks David. We are still finalizing them so I cannot share them with you, but that is also not
        something required under Local Rule 7(m). We’re just meant to discuss the anticipated motion in a
        good-faith effort to determine whether there is opposition to the relief sought.

        Here is the relief sought in each:

        Motion 1:



                                                          1
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The parties respectfully request that the Court enter the Consent Order attached as Exhibit 1 (see
attached).

Motion 2:

The parties hereby request that the Court vacate all remaining deadlines and Court conferences
currently scheduled pending settlement, including the dates the Court is currently holding for trial.
The parties request that the Court set a status conference for February 28, 2025, or at the Court’s
convenience, to discuss any issues remaining at that time. To the extent no issues remain, the
parties will advise the Court at the earliest opportunity so that the Court may cancel the status
conference.

Motion 3:

Amtrak respectfully requests that the Court find that USSM should be dismissed as a defendant
pursuant to Fed. R. Civ. P. 71.1(i)(2).


We are planning to file these this evening, so please do get back to us as soon as possible.

Thanks,
Lindsay



From: David E. Ross <DRoss@kasowitz.com>
Sent: Thursday, February 6, 2025 6:42 PM
To: Harrison, Lindsay C. <LHarrison@jenner.com>
Cc: David J. Mark <DMark@kasowitz.com>; Andrew W. Breland <ABreland@kasowitz.com>; Paul J
Kiernan <Paul.Kiernan@hklaw.com>; Amber R. Will <awill@morrisoncohen.com>; Patricia McHugh
Lambert <plambert@pklaw.com>
Subject: Re: Amtrak - US


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Lindsay: Please send us the draft motions so we can review them, and discuss them with
our client. Regards, David




       On Feb 6, 2025, at 6:16 PM, Harrison, Lindsay C. <LHarrison@jenner.com>
       wrote:




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       LINK, ENTER A PASSWORD, OR OPEN AN ATTACHMENT
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       EMAIL ADDRESS.

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 Hi David,

 Thanks so much for the email.

 Amtrak and USI/Kookmin have reached a settlement and will be imminently filing
 three motions. We wanted to get USSM’s position on the motions:

      1. Motion for entry of Consent Order – this motion asks the Court to enter a
         Consent Order for judgment in the litigation. It is a joint motion of Amtrak,
         Kookmin, and USI.
      2. Motion to vacate deadlines – this motion asks the Court to vacate the dates
         the court is holding for trial as well as all other deadlines in the case. It is
         also a joint motion of Amtrak, Kookmin, and USI.
      3. Motion to dismiss USSM from the case – this motion argues that USSM
         should be dismissed from this litigation (but obviously may continue to
         pursue its interests, whatever they may be, in USI in the SDNY
         litigation). This is a motion by Amtrak, and we understand that Kookmin/USI
         do not oppose.

 Please let us know as soon as possible your positions on these motions.

 Thank you,
 Lindsay




 Lindsay C. Harrison
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 From: David E. Ross <DRoss@kasowitz.com>
 Sent: Thursday, February 6, 2025 6:13:44 PM
 To: Harrison, Lindsay C. <LHarrison@jenner.com>
 Cc: David J. Mark <DMark@kasowitz.com>; Andrew W. Breland
 <ABreland@kasowitz.com>
 Subject: Amtrak - US



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 Lindsay: Hope you’re well. Got your vm. Tied up for the next few hours. Can you
 briefly summarize the motions you intend to file and as to which you’d like to know
 USSM’s opinions. We’ll confer and promptly respond. Regards, David

 David E. Ross
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 DRoss@kasowitz.com




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